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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                      :
                                               :
               v.                              :
                                               :        Criminal Case No. 21-738 (BAH)
MICHAEL OLIVERAS                               :
                                               :
                       Defendant.              :


                                              ORDER

       Upon consideration of the oral motion by Defendant at the status conference held on May

3, 2024, to which motion the government does not object, for an examination of the mental

competency of Defendant, pursuant to 18 U.S.C. § 4241, and the representations made in support

thereof, on this 3rd day of May, 2024, it is hereby--

       ORDERED that Defendant be examined by the psychological or psychiatric staff of the

D.C. Department of Behavioral Health, Pretrial and Assessment Branch (“DBH”), for the purpose

of a forensic screening for a preliminary assessment of Defendant’s competency, and that after

such examination a report be made to this Court as to:

       (1) Whether Defendant is presently mentally competent to understand the proceedings
           against him or her and to properly assist in the preparation of his or her defense; and

       (2) If the answer to the preceding question is in the negative, whether the examining
           clinical psychologist believes Defendant should be transferred to a mental facility for
           further examination and treatment.

The Court requests, but does not order, that the report generated as a result of this initial screening

be completed by May 16, 2024, subject to the availability of staff resources to honor this request.

The Court shall make the report available to the parties.
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       It is further ORDERED that the Assistant United States Attorney assigned to this matter

shall immediately submit the paperwork necessary to ensure the timely payment of DBH for the

preliminary competency examination and report. The AUSA should coordinate payment through

Tina Wall and/or Sallie Rynas of the United States Attorney’s Office for the District of Columbia.

       It is further ORDERED that the parties shall appear for a further hearing on this matter on

June 13, 2024 at 9:30 AM, before the undersigned in Courtroom 26A.

       SO ORDERED.




Date: May 3, 2024                                   ______________________________
                                                    BERYL A. HOWELL
                                                    United States District Judge
